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EXHIBIT A

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fN THE COURT OF COMMON PLEAS OF CLARION COUNTY, PENNSYLVANIA

CIVIL DIVISION
AIMEE MORRISON, CIVIL DIVISION
Plaintiff, NO.: 979 CD 2016
v, TYPE OF PLEADING:
CLARION INDUSTRIES, LLC, COMPLAINT IN CIVIL ACTION
Defendant. FILED ON BEHALF OF PLAINTIFF

COUNSEL OF RECORD FOR THIS
PARTY:

ROLF LOUIS PATBERG, ESQUIRE
PA I.D. NO.: 65185

PATBERG LAW FIRM
1034 PERALTA STREET
PITTSBURGH, PA 15212
(412) 232-3500

JURY TRIAL DEMANDED

 

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IN THE CGURT OF COMMON PLEAS OF CLARION COUNTY, PENNSYLVANIA
CIVIL DIVISION

AIMEE MORRISON, CIVIL DIVISION

Plaintiff, NO.: 979 CD 2016

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v. )
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cLARION INDUSTRIES, LLC, )

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)

Defendant. JURY TRIAL DEMANDED

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YOU I~IAVE BEEN SUED l'N COURT. IF YOU WISH TO DEFEND AGAINST THE
CLAIMS SET FORTH IN THE FOLLOWING PAGES, YOU MUST TAKE ACTION WITHIN
TWENTY (20) DAYS AFTER THIS COMPLAINT AND NOTICE AR_E SERVED BY
ENTERI`NG A WRITTEN APPEARANCE PERSONALLY OR BY ATTORNEY AND FILI`NG
IN WRITI`NG WITH THE COURT YOUR DEFENSES OR OBJECTIONS TO THE CLAIMS
SET FORTH AGATNST YOU. YOU ARE WARNED THAT IF YOU FAIL TO DO SO, THE
CASE MAY PROCEED WITHOUT YOU AND A JUDGMENT MAY BE ENTERED
AGAINST YOU BY THE COURT WITHOUT FURTHER NOTICE FOR ANY MONEY
CLAIMED IN THE COMPLAINT OR FOR ANY OTHER CLAIM OR RELIEF REQUESTED
BY THE PLAI`NTIFFS. YOU MAY LOSE MONEY OR PROPERTY OR OTHER RIGI-ITS

IMPORTANT TO YOU.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW.
THIS OFFICE CAN PROVIDE YOU WITI-I INFORMATION ABOUT HIRING A LAWYER.

IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE TO
PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL
SERVICES TO ELIG[BLE PERSONS AT A REDUCED FEE OR NO FEE.

Pennsylvania Bar Association
P.O. Box 186
I-Iarrisburg, PA 17108
(800) 692-7375

 

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IN THE COURT OF COMMON PLEAS OF CLARION COUNTY, PENNSYLVANIA

CIVIL DIVISION
AIMEE MORRISON, ) CIVIL DIVISlON
)
Plaintiff, ) NO.: 979 CD 2016
)
v. )
)
CLARION FNDUSTRIES, LLC, )
)
Defendant. ) JURY TRIAL DEMANDED

COMPLAINT IN CIVIL ACTION
AND NOW, comes the Plaintiff, Aimee Morrison, by and through her attorneys, Rolf Louis
Patberg, Esquire, and the law firm of Patberg Law Firm, and files the following Complaint in Civil
Action and, in support thereof, avers as follows:
l. Aimee J. Morrison (hereinaher “Morrison”) is an adult individual residing at 199
Cherry Lane, Tionesta, Forest County, Pennsylvania 16353. '
2. Defendant, Clarion Industries, LLC (hereinafter “Clarion”) is a corporation trading

and doing business at 143 Fiberboard Avenue, Shippenville, Clarion County, Pennsylvania 16254.

I. Statement of Jurisdiction on the Venue
3. Jurisdiction in the Coul“c of Cornmon Pleas of Clarion County is proper pursuant to

43 P.S. §962 and §1421, et seq.

4. Plaintiff Morrison has met the administrative exhaustion requirements for the
discrimination under the Americans with Disabilities Act, 42 U.S.C. §12101 et seq. and
discrimination based upon disability under the Pennsylvania Human Relations Act as she has
timely filed administrative charges with the Equal Employment Opportunity Commission, Charge
No. 846-2016-07272 as part of a duel filing and a right to sue letter was issued by the EEOC on

May 25, 2016.

 

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5. Plaintiff filed a Praecipe for Writ of Summons on August 22, 2016 in the Court of

Common Pleas of Clarion County.
II. Factual Averments

6. Plaintiff incorporates Paragraphs 1 through 5 of the within Complaint as though the
same were set forth at length.

7. Clarion is engaged in the business of manufacturing laminate flooring materials and
employs over 100 employees

8. At the time of her termination from employment, Morrison was employed as a
laborer on an assembly line at Defendant’s Shippenville, Pennsylvania location

9. Plaintiff Morrison began working for Clarion on December 15, 2014 as a laborer at
Clarion’s Shippenville Pennsylvania location.

10. On June 4, 2015, Plaintiff began medical leave related to disability associated with
Crohn’s disease and began receiving short term disability benefits

ll. Plaintifi’s short term disability benefits was to expire in early December 2015 and
she was then going to receive long term disability benefits beginning in early December 2015.

12. [mmediately upon the expiration of Plaintiff`s short term disability, Defendant
Clarion terminated Plaintiff’s employment on December 8, 2015.

COUNT I
Disabilig Discrimination
Pennsylvania Human Relations Act
Harassment/Adverse Employment Action/Retaliation

13. Plaintiff incorporates by reference Paragraphs l through 12 of the within

Complaint as though set forth at length.

14. Plaintiff Morrison’s protected classes is that of an individual with a disability as

defined under the Pennsylvania Human Relations Act.

 

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15. Beginning on June 4, 2015, Plaintiff became disabled while working for
Defendant Clarion and was Off work on medical leave receiving short term disability benefits
through Defendant.

16. Plaintiff Morrison’s short term disability leave was to expire in early December
2015 at which time she was to convert to long term disability benefits

17. Immediately upon the expiration of Plaintiff’ s short term disability, her
employment was terminated as of December 8, 2015 by Defendant Clarion.

18. The adverse employment action taken against Plaintiff was the result of
discriminatory animus based upon Plaintiff`s disability and/or in retaliation for Plaintif`f taking
medical leave and receiving short term disability benefits as a result of her disability.

19. Based upon the foregoing, Plaintiff alleges that Defendant violated 43 P.S. §955
of the Pennsylvania Human Relations Act, 43 P.S. §951-963.

20, The Plaintiff prays that the Defendant be required to provide all appropriate
remedies under the Pennsylvania Human Relations Act, including reinstatement, back pay, front
pay, attorneys’ fees and all compensable damages

WHEREFORE, Plaintiff respectfully requests this Honorable Court enter judgment in her
favor and against Defendant in an amount in excess of the Arbitration limits of Clarion County.

COUNT Il
Disabilil_ty Discrimination
Americmz ’s with Disabilities Acl
Harassment/Adversc Employment AetionfRetaliation

21. Plaintiff incorporates by reference Paragraphs 1 through 20 of the within

Complaint as though set forth at length.

 

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22. Plaintiff’s protected class is that of a “qualifred individual” within the meaning of
the Americans with Disabilities Act (hereinalier “ADA) because of a known disability or being
regarded as having a disability under Title I of the ADA, 42 U.S.C. §12101 et seq. as amended.

23. Beginning on January 4, 2015, Plaintiff` became disabled while working for
Defendant Clarion and was off work on medical leave receiving short term disability benefits
through Defendant

24. Plaintiff` Morrison’s short term disability leave was to expire in early December
2015 at which time she was to convert to long term disability benefits

25. Immediately upon the expiration of Plaintiff’s short term disability, her
employment was terminated as of December 8, 2015 by Defendant Clarion.

26. The adverse employment action taken against Plaintiff was the result of
discriminatory animus based upon Plaintiff’s disability and/or in retaliation for Plaintiff taking
medical leave and receiving short term disability benefits as a result of her disability.

27. Based upon the foregoing, Plaintiff alleges that Defendant violated 42 U.S.C.
§12112 ofthe ADA, 42 U.S.C. §12101, et seq.

28. The Plaintiff prays that the Defendant be required to provide all appropriate
remedies under the ADA, including reinstatement, back pay, front pay, attorneys’ fees and all

compensable damages

 

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VERIFICATION

Airnee Morrison verifies that she is the Plaintiff in the foregoing action; that the foregoing
Complaint is based upon information which she has furnished to her counsel and information
which has been gathered by her counsel in preparation of the lawsuit. The language in the
Complaint is that of counsel and not ofPlaintiff. Plaintiff has read the Complaint and, to the extent
that it is based upon information which she has given to her counsel, it is true and correct to the
best of her knowledge, information and belief. To the extent that the content of the Complaint is
that of counsel, she has relied upon counsel in making this Aftidavit. Plaintiff understands that

false statements herein are made subject to the penalties of 18 Pa. C.S. §4904, relating to unsworn

falsification to authorities

Date:f¢¢gizz

 

 

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CERTIFICATE OF SERVICE
I, Rolf Louis Patberg, Esquire, hereby certify that a true and correct copy of the foregoing
Complaint in Civil Action was forwarded this Q/day of April, 2017 via postage prepaid United

States Mail and E-Mail to the following counsel of record:

Clarion Industries, LLC
143 Fiberboard Avenue
Shippenville, PA 16254

Rolf Louis P(atberg'], Esquire

 

 

